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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division
 DHARMESH JAIN
 25568 Upper Clubhouse Drive
 South Riding, Virginia 20152

        Plaintiff,

        V.
                                               Case No.: 1:19-cv-560
 THE COUNTY BOARD OF ARLINGTON
 COUNTY, VIRGINIA, THE GOVERNING
 BODY FOR THE COUNTY
 2100 Clarendon Blvd
 Arlington, Virginia 22201,

        Defendants.

                                      COMPLAINT
       1.      Plaintiff Dharmesh Jain brings this complaint for monetary and equitable

relief, through counsel, against Defendant The County Board of Arlington County, Vir-

ginia, the Governing Body for the County (the “County”) under the Americans with Dis-

abilities Act, 52 U.S.C. § 12101 to 12213 (the “ADA”).


                                JURISDICTION & VENUE
       2.      This    Court    has   jurisdiction   over   this   action   pursuant   to

42 U.S.C. § 2000e-5(f)(3), made applicable to the ADA by 42 U.S.C. §12117(a).
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                                        PARTIES
      3.      Mr. Jain is a resident of South Riding, Virginia who was hired by the County

on December 28, 2015. While at the County he worked as the Decision Support Chief in

the County’s Department of Environmental Services (“DES”).

      4.      The County Board of Arlington County, Virginia, the Governing Body for

the County (the “County” or “Defendant”) is the governing body for the County of Ar-

lington, Virginia and Mr. Jain’s former employer.


                                MR. JAIN’S DISABILITY
      5.      Mr. Jain is dealing with difficult, painful, and exhausting medical complica-

tions that, put simply, wear on him.

      6.      These conditions did not diminish his ability to perform his work for the

County.

      7.      Mr. Jain suffers from Cardiac and Neuro Sarcoidosis.

      8.      Cardiac sarcoidosis is a rare disease in which clusters of white blood cells,

called granulomas, form in the tissue of the heart. Any part of the heart can be affected,

though these cell clusters most often form in the heart muscle where they can interfere

with the heart’s electrical system (conduction defects) and cause irregular heartbeats (ar-

rhythmias).




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       9.     Cardiac sarcoidosis can also result in heart failure. Most people diagnosed

with cardiac sarcoidosis also have granulomas in other organs of the body, and so it is with

Mr. Jain’s condition.

       10.    In Mr. Jain’s case, his neuro sarcoidosis leads to a chronic “aching leg” that,

along with his sarcoidosis generally, substantially limits his ability to work, walk, and his

energy levels, generally.

       11.    Further, Mr. Jain also has an Implantable Cardioverter Defibrillator.

       12.    Mr. Jain also occasionally speaks with a stammer.

       13.    Of note, none of these disabilities prevented Mr. Jain from performing the

essential functions of his position with the County.


                            ADMINISTRATIVE EXHAUSTION
       14.    Mr. Jain filed a charge of discrimination with the United States Equal Em-

ployment Opportunity Commission on August 23, 2018, alleging disability discrimination,

harassment, and retaliation.

       15.    On February 7, 2019, the EEOC issued a Dismissal and Notice of Rights to

Mr. Jain.

       16.    Mr. Jain received his dismissal and Notice of Rights on February 11, 2019.




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                                          FACTS
       17.    On December 10, 2015, the County Offered Mr. Jain employment as the De-

cision Support Chief in the Director’s Office within the Department of Environmental

Services.

       18.    Mr. Jain accepted the offer and started work on December 28, 2018.

       19.    Mr. Jain reported to Environmental Services Director Greg Emmanuel.

       20.    In his role, Mr. Jain supervised three offices and as many as eighteen to

twenty subordinates.

       21.    Pursuant to Chapter 5 of the County’s Administrative Regulation 2.7 (the

“Probationary Period Regulation”), Mr. Jain was placed into a “Probationary Period.”

       22.    Pursuant to the Probationary Period Regulation, County employees, except

certain firefighters and sheriffs, are considered probationary during their first 12 months of

employment.

       23.    As a probationary employee, Mr. Jain was an at will employee, according to

the Probationary Period Regulations.

       24.    Importantly, once County employees leave the probationary period, they

have access to the County’s Grievance Procedures, which allows employees to grieve dis-

missals that are based upon disciplinary or performance-based concerns.

       25.    That ability is unavailable, in large measure, to the County’s at will proba-

tionary employees.


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      26.    Early indications were that Mr. Jain’s performance with the County was

strong.

      27.    In fact, Mr. Emmanuel made no complaints, in writing or in person, to Mr.

Jain until at least December 14, 2016. But that began to change after Mr. Jain shared the

fact of his deteriorating health with Mr. Emmanuel.

      28.    On or about August 2, 2018, Mr. Jain disclosed, perhaps for the first time,

the fact of his conditions to Mr. Emmanuel, in Mr. Emmanuel’s office.

      29.    Jain was soon thereafter visiting his physician for ongoing treatment, and he

thought it appropriate to share these facts with Mr. Emmanuel, given that absence.

      30.    After Jain informed Emmanuel of Jain’s disabilities, Emmanuel began to

make an increasing number of comments about Jain’s “lack of energy,” which comment

was followed by Emmanuel’s complaints about Jain’s “lack of leadership presence.”

      31.    Any “lack of energy” on Jain’s part is an expression of his sarcoidosis, as was

made clear in medical documentation provided to the County.




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       32.    Jain’s primary care provider, Nurse Practitioner Alice Greenwood, signed

FMLA paperwork for Mr. Jain on October 16, 2017, wherein she stated:




       33.    On information and belief, Emmanuel’s repeated references to Jain’s “lack

of energy” and “lack of leadership presence” are naked references to the visible expression

of symptoms of Jain’s disabilities. He is in pain, and it can be visible. It apparently made

Emmanuel uncomfortable.

       34.    Emmanuel also complained about Jain’s occasional issue with stammering.

       35.    Jain would refer these complaints to the County’s Human Relations staff in

late 2017, when Emmanuel’s quest to push Jain out was reaching its conclusion, as will be

discussed later.

       36.    Around the end of 2016, Mr. Jain was to receive his first performance ap-

praisal from Mr. Emmanuel.

       37.    Pursuant to the County’s policies, Mr. Emmanuel appraised Mr. Jain’s per-

formance using “Key Work Expectations (“KWE”).




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       38.    In the County’s Guidebook to Performance Management (the “Management

Guidebook”) the County describes using a Performance Management Cycle (“PMC”) to

manage employee performance.

       39.    The assignment of KWEs is an important part of the “Performance Plan-

ning” part of that process.

       40.    Just as important is the weighting of KWEs, which informs employees about

the relative importance of their various KWEs.




                      Arlington County's Performance Management Cycle


       41.    In the “Performance Appraisal” portion of the PMC, which occurred for

Mr. Jain first at the end of 2016, County supervisors like Mr. Emmanuel are to rate em-

ployees like Mr. Jain by rating them against their weighted KWEs using a five-point rating



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system, with each number representing an attempt to quantify the employee’s success in

meeting their KWEs.




                                The Five-Point Rating System


      42.    The County then uses software called OnBase to derive a final rating from

the (1) the weighted KWEs and (2) the supervisor’s ratings of the employee’s performance

related to those KWES.

      43.    And the OnBase software requires that an employee’s total KWE weights

equal 100%, which accords with common sense.

      44.    Importantly, the County uses OnBase’s appraisal score to make personnel

decisions, like its decisions to extend Jain’s probation in December 2016.

      45.    According to the management guidebook, appraisals of 3.0 or greater qual-

ify employees for annual pay increases.




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        46.   Though the Management Guidebook does not specifically reference the

County’s Administrative Regulation 2.7, it corresponds with the Regulation’s Guidance,

which limits annual pay increases to those employees that “meet performance standards.”

        47.   In preparation for his 2016 appraisal, Mr. Jain submitted to Mr. Emmanuel

Jain’s own accounting of his very successful 2016.

        48.   But Mr. Emmanuel’s appraisal of Mr. Jain’s 2016 performance would prove

problematic because Mr. Emmanuel did not comply with County policies.

        49.   First, Mr. Emmanuel waited until Mr. Jain’s 2016 appraisal, on December

28, 2016, to inform Mr. Jain about the KWEs that Mr. Emmanuel had been expecting Jain to

meet.

        50.   This violates the County’s Management Guidebook, which describes the

Performance Planning process, where KWE’s are established and communicated to the

employee, as “critical.” According to the County’s Management Guidebook, “The Plan-

ning Phase of the Performance Management Cycle ultimately provides expectations that

guide the employee through the work he or she is expected to perform throughout the year.

It helps to ensure both the supervisor and the employee share the same understanding of

expectations. It also eases the rating process at the end of the review cycle and helps to

make those ratings more accurate.”




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        51.   Additionally, Mr. Emmanuel intentionally, and in violation of the County’s

appraisal process, reduced the total weight of Mr. Jain’s KWEs to 90%.

        52.   Put another way, Mr. Emmanuel reduced the weight on some or all KWEs

such that, when those respective weights were summed, they totaled 90%, as opposed to

100%.

        53.   The effect of that deviation from procedure was to reduce Mr. Jain’s fairly-

rated appraisal from 3.0 to 2.9.

        54.   Mr. Emmanuel did not hide why he had done this: to permit him to extend

Mr. Jain’s probationary period, thus preventing Jain from acquiring any right to grieve or

challenge a decision to dismiss him.

        55.   In his meeting with Mr. Jain regarding this appraisal, Emmanuel said,

“Dharmesh you don’t deserve the low rating of 2.9, but if it is over 2.9 then the HR Director

won’t allow me to put you on extended probation.”

        56.   Mr. Jain specifically discussed the reduced-weight KWEs with Mr. Emman-

uel and others in the County because OnBase would not let Mr. Jain sign the appraisal with a

reduced KWE weight.

        57.   Emmanuel had to contact some person with the ability to perform some

form of override, and then Emmanuel informed Jain that the OnBase system would accept

Jain’s signature to the reduced-weight appraisal.




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       58.    So, by Mr. Emmanuel’s own admission, Emmanuel modified Jain’s 2016 ap-

praisal by impermissibly reducing the weight of Jain’s KWEs specifically to reduce Mr.

Jain’s fair appraisal score from 3.0 to 2.9, thereby depriving Mr. Jain of his opportunity to

move, in full accordance with County policy, from probationary, at-will status to a perma-

nent employee with access to the County’s grievance process.

       59.    But even as Emmanuel attempted to push Jain out through subjective pur-

ported performance concerns, see ¶¶ 30, 33, he acknowledged Jain’s satisfactory effort,

diligence, and performance while complaining to Jain of nebulous and subjective com-

plaints.

       60.    For example, in a Memorandum on June 28, 2017 Emmanuel again extended

Mr. Jain’s probationary period while acknowledging that Jain “diligently pursued and

transactionally completed many of the activities requested in December 2016” (when Em-

manuel first extended Jain’s probationary period).

       61.    In that June 28, 2017 memorandum, Emmanuel also claimed that Mr. Jain

was the wrong “fit.”

       62.    Emmanuel’s shifting unhappiness with Jain’s “fit” and “energy” came to a

head beginning in late May, 2017.

       63.    On May 24, 2017 Mr. Emmanuel asked Jain to resign with an effective date

of resignation on September 29, 2017.




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        64.   In Emmanuel’s office, Jain asked why, and Mr. Emmanuel complained

about Mr. Jain’s “leadership presence.”

        65.   Then, on May 30, 2017, Mr. Jain submitted a leave request for a medical pro-

cedure, which Mr. Emmanuel neglected to approve.

        66.   Emmanuel requested again, on June 6, 2017, that Jain resign effective Sep-

tember 29, 2017.

        67.   This time, Jain pressed him, and Emmanuel admitted that Mr. Jain’s perfor-

mance, ethics, and integrity were all satisfactory.

        68.   On June 12, 2017, Jain approached Emmanuel in Emmanuel’s office about

his need for upcoming surgery and Emmanuel’s neglect of Jain’s leave request, referenced

in ¶ 65.

        69.   And then, on June 16, Emmanuel again asked Jain to resign, and Jain pressed

him once more.

        70.   This time, Emmanuel said, Jain’s problem was that some of Jain’s subordi-

nates only “followed” him out of, of all things, “respect,” and this was somehow problem-

atic.

        71.   On October 2, 2017, Emmanuel informed Jain’s subordinates, without Jain’s

approval or resignation, that Jain would be leaving soon.




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       72.    So on October 23, 2017, Mr. Jain emailed Disability Resource and ADA Co-

ordinator Anthonia Sowho, wherein he wrote:




                   October 23, 2017 email to Disability Resource Coordinator


       73.    On October 24, as Emmanuel’s pressure mounted, Jain filed a grievance,

complaining of disability discrimination based on Emmanuel’s repeated comments about

Jain’s “energy,” lack of “fit,” and “leadership presence.”

       74.    Emmanuel fired him three days later, on October 27, 2017.


                                         COUNT I
                             Disability Discrimination: the Firing
       75.    Mr. Jain realleges each prior allegation in this Count I.

       76.    Mr. Jain was the County’s employee, and it his employer, within those re-

spective terms’ meanings as defined in 42 U.S.C. §12111.




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          77.   And Mr. Jain was, at the time of his firing by the County, a qualified individ-

ual because he was meeting the County’s legitimate expectations of his performance.

          78.   Emmanuel admitted that, if he had weighted Mr. Jain’s KWEs in accordance

with County practice and guidelines, Jain would have automatically transitioned to being a

permanent employee.

          79.   And Emmanuel admitted when he did so that Mr. Jain did not “deserve” the

rating.

          80.   This is an admission that Emmanuel’s December 2016 appraisal was pre-

textually low in order to accomplish the goal of extending Jain’s probation.

          81.   Emmanuel’s concerns about Jain were also primarily about the outward ex-

pressions of Jain’s disability (for example an apparent lack of energy), one of which was

described by Jain’s primary care provider. See ¶ 32.

          82.   Thus, but-for Jain’s disabilities, Emmanuel would not have been concerned

about Jain’s energy, fit, or other subjective concerns, and he would not have dismissed Mr.

Jain.

          83.   As a result of the County’s conduct, Mr. Jain suffered monetary and non-

monetary damages, such as lost wages and emotional distress.


                                           COUNT II
                              Disability Discrimination: Harassment
          84.   Mr. Jain realleges each prior allegation in this Count II.


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       85.    Emmanuel subjected Mr. Jain to unwelcome conduct, to include comments

about Jain’s “lack of energy,” “leadership presence,” and “fit.”

       86.    Emmanuel also told Jain’s subordinates that Jain would be leaving soon, be-

fore he had been fired.

       87.    Emmanuel also blatantly manipulated County performance management

software to ensure he could give Jain a performance rating he said, at the time, Jain did

not “deserve.”

       88.    Each of these acts was because of Jain’s disabilities

       89.    In total, Emmanuel’s treatment of Jain was sufficiently severe, in addition to

being sufficiently pervasive, to alter the terms and conditions of Jain’s employment.

       90.    As a result, Jain suffered damages in the form of emotional distress.

       91.    As a result of the County’s conduct, Mr. Jain suffered monetary and non-

monetary damages, such as lost wages and emotional distress.


                                       COUNT III
                                   Retaliation: the Firing
       92.    Mr. Jain realleges each prior allegation in this Count III.

       93.    Jain engaged in protected activity when, among other instances of protected

activity, he complained of disability discrimination on October 23, 2017 and when he filed

a grievance on October 24, 2017.

       94.    Emmanuel fired Jain on October 27, 2017.


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         95.    The time nexus alone permits an inference of retaliation.

         96.    As a result of the County’s conduct, Mr. Jain suffered monetary and non-

monetary damages, such as lost wages and emotional distress.


                                   RELIEF DEMANDED
         97.    Mr. Jain requests from the Court judgment in his favor on all counts.

         98.    Mr. Jain requests from the Court any injunctive relief necessary to make him

whole and to prevent recurrence of the discriminatory and retaliatory conduct.

         99.    Mr. Jain requests from the Court monetary damages, lost wages and the

value of his lost benefits, and compensatory damages for non-economic harms, in an

amount to be determined by a jury at trial.

         100.   Mr. Jain requests from the Court any other relief that the Court finds just

and proper.

         101.   Mr. Jain requests that the Court award him reasonable attorneys’ fees and

costs.

         102.   Mr. Jain requests pre- and post-judgment interest, to the fullest extent per-

mitted by law.




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      MR. JAIN DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE

Dated: May 8, 2019

                                               Respectfully Submitted,



                                               /s/
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